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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION
                            CIVIL ACTION NO. 3:20-CV-00299-BJB

 NATHAN BEST, et al.                                                                    PLAINTIFFS

 VS.

 STEPHEN JAMES, et al.                                                                DEFENDANTS

                                               ORDER

        Plaintiffs Nathan Best, et al., initiated this ERISA action in April of 2020 against

 Defendants Stephen James, et al. (DN 1). Several months later, Defendant Stephen James

 (“Defendant James”) filed an Answer to Plaintiffs’ Complaint. (DN 43). The remaining

 Defendants, ISCO Industries and “the Kirchdorfer Defendants,” moved to dismiss Plaintiffs’ Class

 Action Complaint, arguing that Plaintiffs’ claims are subject to mandatory arbitration. (DN 45).

        On February 28, 2022, Plaintiffs filed a Motion for Leave to Commence Discovery as to

 Defendant James or, in the alternative, for a status conference to discuss a discovery plan for

 Plaintiffs and Defendant James. (DN 72). The Court then scheduled a telephonic conference for

 March 18, 2022. The day before the conference, Defendant James filed a response in opposition

 to Plaintiffs’ Motion for Leave to Commence Discovery and a Motion to Stay the Entire

 Proceeding Pending Arbitration. (DN 74). Defendant James argues that discovery would be

 premature and requested that any stay issued in response to their Motion to Dismiss “be a full stay

 on all claims herein asserted,” including the non-arbitrable claims. (Id.).

        Following the telephonic conference, the Court gave the parties ten days to confer on the

 discovery issue and then file a joint status report as to their discussions. (DN 75). The parties filed

 a stipulation and joint status report on March 23, 2022 indicating agreement as to limited

 discovery, in the form of document production, focusing “on the claims, issues, and allegations
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 related to Defendant James, and not into matters that solely relate to ISCO or the Kirchdorfer

 Defendants.”. (DN 76). The Stipulation further indicated the parties’ agreement that a Rule 26(f)

 conference, a Rule 16 conference, initial disclosures, interrogatories, requests for admission, and

 depositions will be held in abeyance until the pending motion to stay and/or motion to dismiss are

 resolved. (Id.).

         In an abundance of caution, Plaintiffs filed a response to Defendants’ Response at DN 74,

 noting that their Motion to Commence Discovery is now moot based on the parties’ Stipulation.

 (DN 78). Plaintiffs assert that Defendant James’ bootstrapped Motion to Stay should also be denied

 as moot and procedurally improper since all Defendants have now stipulated to limited discovery

 relating to the claims against Defendant James. (Id.).

         Having reviewed these filings, the Court agrees that the Stipulation filed by all parties

 authorizing limited discovery, in the form of document production, relating only to the claims

 against Defendant James, moots both Plaintiffs’ Motion to Commence Discovery and Defendant

 James’ earlier Motion to Stay. Accordingly,

         (1) Plaintiffs’ Motion to Commence Discovery (DN 72) is DENIED as MOOT based on

             the parties’ Stipulation/Joint Status Report filed on March 24, 2022.

         (2) Defendant James’ Motion to Stay (DN 74), embedded within his Response to Plaintiffs’

             Motion to Commence Discovery, is also DENIED as MOOT based on the parties’

             Stipulation/Joint Status Report filed on March 24, 2022. This denial is without

             prejudice.

         IT IS SO ORDERED.

              May 2, 2022


 Copies:            Counsel of Record
